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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF INDIANA

 

(NEW ALBANY DIVISION)

MICKEL GREEN PLAINTIFF
3159 Wooded Way
Jeffersonville, Indiana 47130

Case No.
Vv.

Judge
PENNSYLVANIA HIGHER EDUCATION ASSISTANCE AGENCY DEFENDANTS
d/b/a FEDLOAN SERVICING CO.

1200 North 7 Street
Harrisburg, Pennsylvania 17102

SERVE: Pennsylvania Higher Education Assistance Agency
d/b/a FedLoan Servicing Co.
ATTN: Michael Peifer
1200 North 7 Street
Harrisburg, Pennsylvania 17102
(BY INDIANA SECRETARY OF STATE)

AND

EQUIFAX INFORMATION SERVICES, LLC
1550 Peachtree Street, N.W.
Atlanta, Georgia 30309

SERVE: Corporation Service Co.
135 N. Pennsylvania Street, Ste. 1610
Indianapolis, Indiana 46204
(BY CERTIFIED MAIL)

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VERIFIED COMPLAINT
Comes the Plaintiff, Mickel Green, and for his Verified Complaint against the Defendants,
Pennsylvania Higher Education Assistance Authority d/b/a FedLoan Servicing Co. (“FedLoan”)
and Equifax Information Services, LLC (“Equifax”), states as follows:

I. PRELIMINARY STATEMENT

 

1. This is an action for violation of the Fair Credit Reporting Act (“FCRA”), 15 U.S.C.
§1681 et seq. arising out of Defendants’ failure to investigate Plaintiff's credit reporting disputes;
FedLoan’s false reporting to Equifax of an alleged current late status and default history on seven
(7) zero balance, transferred FedLoan student loan accounts; and Defendants’ failure to correct
FedLoan’s false and impermissible reporting on Plaintiff's credit report.

Il. PARTIES

2. Plaintiff, Mickel Green, is currently and was at all relevant times a citizen of the
State of Indiana residing at 3159 Wooded Way, Jeffersonville, Indiana 47130.

3. Plaintiff is a “consumer” as that term is defined by the FCRA, 15 U.S.C. §1681a(c).

4, Defendant, FedLoan, is a Pennsylvania corporation doing business in the State of
Indiana with its principal place of business at 1200 North 7" Street, Harrisburg, Pennsylvania
17102.

5. FedLoan is a “furnisher of information” as that term is defined by the FCRA, 15
U.S.C. §1681s-2(b).

6. Defendant, Equifax, is a corporation organized under the laws of the State of
Georgia and doing business in the State of Indiana with its principal place of business located at
1550 Peachtree Street, N.W., Atlanta, Georgia 30309.

7. Equifax is a “consumer reporting agency that compiles and maintains files on
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consumers on a nationwide basis” as that term is defined by the FCRA, 15 U.S.C. §1681a(o).

8. Equifax is regularly engaged in the business of assembling, evaluating, and
dispensing information concerning consumers for the purpose of furnishing “consumer reports,”
as that term is defined at 15 U.S.C. §1681a(d), to third parties.

Il. JURISDICTION

9, This Court has jurisdiction over this action: (1) pursuant to the FCRA, 15 U.S.C.
§1681(p); (2) pursuant to 28 U.S.C. §1331; and (3) because the transactions and occurrences giving
rise to this action occurred in Clark County, Indiana as a result of the Defendants’ doing business
in Clark County, Indiana.

IV. FACTUAL BACKGROUND

10.  Inoraround July 2020, Plaintiff accessed his Equifax credit report and
discovered that FedLoan was reporting a current late status and default history on seven (7) of
Plaintiffs zero balance, transferred FLSC student loan accounts.

11. Prior to July 2020, and upon information and belief, the United States Department
of Education assigned or otherwise transferred the student loan accounts to FedLoan.

12. Immediately upon discovering FedLoan’s false and derogatory tradelines which
showed a current late status on Plaintiff's FedLoan student loan accounts, and FedLoan’s
impermissible reporting of default history, Plaintiff filed disputes with Equifax regarding the
inaccuracy of the FedLoan tradelines given the prohibition of derogatory payment history
reporting of transferred student loans as set forth in 20 U.S.C. §1078-6(c).

13. | Upon information and belief, Equifax, pursuant to the requirements stated in 15
U.S.C. §1681i(a)(2)(A), notified FedLoan of the disputes at or within five (5) days of Equifax’s
receiving notice of the disputes from Plaintiff.

14. Plaintiff never received the results of his disputes to Equifax. In or around

 
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September 2020, however, Plaintiff again accessed his Equifax credit report and discovered that
the FedLoan tradelines were reporting as they had been reporting prior to his disputes.

15. Despite Plaintiffs lawful request for removal or amendment of the disputed items
pursuant to the FCRA, FedLoan and Equifax failed to investigate Plaintiff’s disputes and failed to
remove the disputed items from Plaintiff's credit report or to amend Plaintiff's credit report.

16. Upon information and belief, FedLoan and Equifax did not evaluate or consider
any of Plaintiffs information, claims, or evidence, and did not make any and/or sufficient attempts
to remove the disputed items or to amend Plaintiff's credit report within a reasonable time
following Equifax’s receipt of Plaintiffs disputes.

17. The Defendants’ actions have damaged Plaintiff in that Plaintiff has been denied
credit and/or has been forced to pay a high rate of interest for credit due to the Defendants’ failure
to investigate Plaintiffs disputes and to remove or amend the subject FedLoan tradelines. In
addition, Defendants’ violations of the FCRA have caused Plaintiff to suffer embarrassment,
humiliation, and emotional distress.

V. CLAIMS
Negligent Violation of the Fair Credit Reporting Act - FedLoan
-18. Plaintiff hereby adopts and incorporates the allegations contained in the above
pleaded paragraphs as if fully set forth herein.

19.  FedLoan’s failure to investigate Plaintiffs disputes and its initial and continuing
false reporting to Equifax of the status of the FedLoan accounts are violations of FedLoan’s duties
as a furnisher of credit information pursuant to the FCRA, 15 U.S.C. §1681s-2(b).

20.  FedLoan’s violations of the FCRA amount to negligent non-compliance with the

FCRA as stated in 15 U.S.C. §16810 for which FedLoan is liable to Plaintiff for Plaintiff's actual

 
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damages, for statutory damages, and for Plaintiff's attorneys’ fees.
Negligent Violation of the Fair Credit Reporting Act — Equifax

21. Plaintiff hereby adopts and incorporates the allegations contained in the above
pleaded paragraphs as if fully set forth herein.

22.  Equifax’s failure to investigate Plaintiff's disputes and its failure to delete and/or
amend its reporting of the subject tradelines despite knowledge of the falsity of the disputed items
are violations of Equifax’s duty to ensure maximum possible accuracy of consumer reports under
15 U.S.C. §1681e(b) and Equifax’s duties regarding investigation of disputed items under 15
ULS.C. §16811.

23.  Equifax’s failure to evaluate or consider any of Plaintiffs information, claims, or
evidence, and its failure to make any and/or sufficient attempts to delete and/or amend its reporting
of the disputed items within a reasonable time following Equifax’s receipt of Plaintiffs disputes
are violations of Equifax’s duties regarding investigation of disputed items under 15 U.S.C.
§1681i.

24.  Equifax’s violations of the FCRA amount to negligent non-compliance with the
FCRA as stated in 15 U.S.C. §16810, for which Equifax is liable to Plaintiff for Plaintiffs actual
damages, for statutory damages, and for Plaintiff's attorney’s fees.

Willful Violation of the Fair Credit Reporting Act — FedLoan

25. Plaintiff hereby adopts and incorporates the allegations contained in the above
pleaded paragraphs as if fully set forth herein.

26.  FedLoan’s failure to investigate Plaintiffs disputes and its initial and continuing
false reporting to Equifax of the status of the FedLoan accounts, despite FedLoan’s knowledge of
the falsity of its reporting, are willful violations of FedLoan’s duties as a furnisher of credit

information pursuant to the FCRA, as stated in 15 U.S.C. §1681s-2(b).

 
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27. Given FedLoan’s knowledge of the falsity of its reporting, FedLoan’s violations of
the FCRA amount to willful non-compliance with the FCRA as stated in 15 U.S.C. §1681n for
which FedLoan is liable to Plaintiff for Plaintiffs actual damages, for statutory damages, for
punitive damages, and for Plaintiff's attorney’s fees.

Willful Violation of the Fair Credit Reporting Act — Equifax

28. Plaintiff hereby adopts and incorporates the allegations contained in the above
pleaded paragraphs as if fully set forth herein.

29.  Equifax’s failure to investigate Plaintiffs disputes and its failure to delete and/or
amend its reporting of the subject tradelines despite Equifax’s knowledge of the falsity of the
disputed items are willful violations of Equifax’s duty to ensure maximum possible accuracy of
consumer reports as stated in 15 U.S.C. §1681e(b) and Bquifax’s duties regarding investigation of
disputed items under 15 U.S.C. §1681i.

30.  Equifax’s failure to investigate Plaintiff's disputes, its failure to evaluate or
consider any of Plaintiff's information, claims, or evidence, and its failure to make any and/or
sufficient attempts to delete and/or amend its reporting of the disputed items within a reasonable
time following Equifax’s receipt of Plaintiff's disputes are willful violations of Equifax’s duties
regarding investigation of disputed items as stated in 15 U.S.C. §16811.

31.  Equifax’s violations of the FCRA amount to willful non-compliance with the
FCRA as stated in 15 U.S.C. §1681n for which Equifax is liable to Plaintiff for Plaintiff's actual
damages, for statutory damages, for punitive damages, and for Plaintiff's attorneys’ fees.

WHEREFORE, Plaintiff, Mickel Green, respectfully demands the following:

1. Trial by jury on all issues so triable;

2. Judgment against the Defendants for statutory, compensatory, consequential, and

 
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punitive damages;
3, For attorneys’ fees and costs; and,

4, Any and all other relief to which Plaintiff may appear to be entitled.

Respectfully submitted,

/s/David W. Hemminger

David W. Hemminger
HEMMINGER LAW OFFICE, P.S.C.
331 Townepark Circle, Suite 100-C
Louisville, KY 40243

Phone, (502) 443-1060

Facsimile, (502) 873-5300
hemmingerlawoffice@gmail.com
Counsel for Plaintiff

 
 

 

 

VERIFICATION

I, Mickel Green, hereby state that I have read the foregoing Verified Complaint and the

statements contained therein are true and accurate to the best of my knowledge, information and.

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Mickel Green
STATE OF INDIANA yo
_ COUNTY OF CLARK - )
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Subscribed, sworn to and acknowledged before me by Mickel Green this qt

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Notary Public) 7

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